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                                                                              FILED
                                                                                   AUG   1 9 2020
                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS      CLERK, U.S. DISTRICT COURT
                                                           WESTERN      TRICT OF TEXAS
                                   Austin Division         BY
                                                                                              )EPUTY   CLEk
WENO EXCHANGE, LLC                                   )
                                                     )
                       Plaintiff,                    )
                                                     )       Call4o.2 0      MCO 86 7RP
       v.                                            )
                                                     )

SURESCRIPTS, LLC,                                    )
                                                     )

                                                     )
                       Defendant.                    )



        WENO EXHCHANGE, LLC'S MOTION TO QUASH OR MODIFY AND
                      FOR PROTECTIVE ORDER

       Weno Exchange, LLC ("WENO") files this Motion to Quash or Modifi and for

Protective Order, (the "Motion"). In support of its Motion, WENO states as follows:

                                I.     INTRODUCTION

       1.      WENO is a Texas limited liability company with a principal place of

business in Austin, Texas.

       2.      WENO works with electronic health record systems, prescribers, and

pharmacies to provide e-Prescribing and prescription benefit programs.

       3.      On August 5, 2020, Allyson M. Maltas of Latham & Watkins LLP, counsel

for Surescripts, LLC ("Surescripts"), served WENO with a third-party subpoena attached

as Exhibit A (the "Subpoena") in the case    of Federal Trade Commission v. Surescripts,

LLC, Case No. 1 :19-cv-01080 (the "FTC Case"), pending in the United States District

Court for the District of Columbia, in which Surescripts is accused of antitrust violations

as a result of allegedly engaging in anti-competitive conduct.
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        4.       The Subpoena requires the production of documents, information or objects

or to permit inspection of premises in this District and Division by September 4, 2020, at

5:00 pm.

        5.      The Subpoena is not reasonably limited at all as to time or scope, in several

ways, including, but not limited to, the fact that it seeks "documents created, sent, received,

reviewed, or relevant to the period from June 30, 2008 to the present." (Exhibit A at

Instructions, ¶1).

       6.       Moreover, the subpoena is overbroad, unduly burdensome, vague, and seeks

irrelevant materials.   (See   Goodman Declaration attached as Exhibit B).

       7.       The Subpoena also seeks an overwhelming amount of proprietary

commercial business information related to WENO's cost, pricing, business plans, strategy

and other information that is highly confidential and sensitive and would afford anyone

with access to such information a competitive business advantage.      (See   id.)



       8.       WENO's counsel conferred with Surescripts' counsel on Friday August 14,

2020, in an effort to resolve WENO's objections, address WENO's concerns regarding the

sensitive confidential and proprietary information the Subpoena seeks, and, at a minimum,

narrow the Subpoena such that it is not so burdensome to WENO. During the August 14

telephonic conference WENO's counsel learned that through discovery in the FTC case

Surescripts has in fact received the materials and information WENO produced to the FTC

in 2016. Rather than engaging in a meaningful conversation designed to resolve WENO's

concerns, Surescripts' counsel advised that WENO should serve its objections to the

Subpoena first, and then it may be possible to figure out how to narrow the Subpoena and

address WENO's concerns. In WENO's view the suggested approach is backwards, but
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nevertheless given that WENO is the recipient of the Subpoena it has no reasonable choice

other than to file this Motion and Objections under the circumstances given the discussion

with Surescripts' counsel.

                           II.      ARGUMENTS AND AUTHORITIES

       9.            The Subpoena should be quashed (or modified). Fed.R.Civ.P. 45.

       10.           Pursuant to Fed.R.Civ.P. 45(d)(3)(A)(iv) and 45(d)(3)(B) the Subpoena is

overbroad and unduly burdensome, and seeks irrelevant and confidential information.

       11.           The Subpoena is not only overbroad and unduly burdensome, it also

improperly seeks information that is confidential between WENO and third parties, and it

requests sensitive confidential proprietary business information.

       12.           In short, the Subpoena requests are overbroad, impose unnecessary burdens

on WENO, and interfere with business relationships between WENO and third parties.

FED. R. CIV. P. 45(d)(3)(B)(i) ("To protect a person.. . affected by a subpoena, the court

    may     . . .   quash or modifi the subpoena if it requires: (i) disclosing a trade secret or

other confidential research, development, or commercial information.              . .



       13.           Rule 45 requires the Court to quash or modify a subpoena that (i) fails to

allow a reasonable time to comply; (iii) requires the disclosure of privileged or other

protected matter, if no exception or waiver applies; or (iv) subjects a person to undue

burden. Fed.R.Civ.P. 45(d)(3)(A). The Court may also quash or modify a subpoena that

requires the disclosure of a trade secret or other confidential research, development, or

commercial information. Fed.R.Civ.P. 45(d)(3)(B).

       14.           A facially overbroad subpoena             like the instant Subpoena   is unduly

burdensome.         See Williams   v.   City of Dallas,   178 F.R.D. 103, 109 (N.D.Tex.1998). The



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Court must balance the need for discovery by the requesting party and the relevance of the

discovery to the case against the harm, prejudice or burden to the other party. See Truswal

Systems Corp.     v.   HydroAir Eng'g, Inc., 813 F.2d 1207,   1201 (Fed.Cir.1987). One factor

to be considered in assessing the burden of complying with a subpoena is whether the

moving party is a non-party to the litigation. See Williams, 178 F.R.D. at 112 (citing Katz

v.   Batavia Marine & Sporting Supplies, Inc., 984 F.2d 422, 424 (Fed.Cir. 1993) (collecting

cases)).

           15.    Under Fed.R.Civ.P. 45, a court must quash or modify a subpoena that

subjects the responding party to undue burden. Fed.R.Civ.P. 45(d)(3)(A)(iv).

           16.    A court may also quash or modify a subpoena that requires the disclosure

of trade secret or other confidential research, development, or commercial information.

Fed.R.Civ.P. 45(d)(3)(B).

           17.    Moreover, subpoenas to a non-party such as WENO do not grant the

requesting party any broader right to information than allowed by the Federal Rules of Civil

Procedure for discovery between the parties. "When a subpoena is issued as a discovery

device, relevance for purposes of the undue burden test is measured according to the

standard of Federal Rule of Civil Procedure 26(b)(1)." Booth v. City of Dallas, 312 F.R.D.

427, 430 (N.D. Tex. 2015). Accordingly, a subpoena must be relevant to a party's claim

or defense and be proportional to the needs of the case. See Fed.R.Civ.P 26(1).

         18.      Under Rule "45(d)(1), '[a] party or aftorney responsible for issuing and

serving a subpoena must take reasonable steps to avoid imposing undue burden or expense

on a person subject to the subpoena,' and [t]he court for the district where compliance is

required must enforce this duty and impose an appropriate sanction        which may include



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lost earnings and reasonable attorney's fees    on a party or attorney who fails to comply."

MetroPCS      v.   Thomas, 327   F.R.D. 600, 606 (N.D. Tex. 2018);   see also   Fed.R.Civ.P.

45(d)(1). Surescripts has not taken reasonable steps to avoid imposing undue burden on

WENO.

                                    III.   OBJECTIONS

        19.        WENO objects to and moves to quash (or modify) the Subpoena and for

protection, on the following grounds:


a. Objection        Improper Instructions and Definitions

       i.          The Subpoena contains definitions and instructions that improperly expand upon

the definitions contained in the Federal Rules of Civil Procedure ("FRCP") and the Western

District of Texas local rules (the "Local Rules") for the definitions of "Document."    See   Exhibit

A at Definitions, ¶ D. While acknowledging that the term "Document" should have the same

meaning as set forth in the FRCP and Local Rules in the first sentence in Definitions, ¶ D, the

subsequent sentence expands upon the definition set forth in the applicable rules. WENO objects

to these overly-expansive definitions, and will only agree to be bound by the definitions contained

in the FRCP and the Local Rules. (Exhibit A at Instructions, ¶10).

       ii.         WENO also objects to Surescripts' attempt at requiring a continuing discovery

obligation on WENO which is a non-party (Exhibit A at Instructions,     ¶13).




b. Objection       - Overbroad

       i.          WENO objects to the Subpoena because it is overbroad, unduly

burdensome, and not reasonably limited as to time and scope. The subpoena attempts to

shift the burden to WENO to determine what requests might overlap with discovery already


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in Surecripts' possession, and it also seeks confidential proprietary information. Moreover,

the Subpoena generally seeks "documents created, sent, received, reviewed, or relevant to

the period from June 30, 2008 to the present." (Exhibit A generally,   see   Instructions, ¶1).

c.   Objection Relevance


                  WENO objects to the Subpoena because it seeks information andlor

documents from third-party WENO not reasonably calculated to lead to the discovery of

admissible evidence and is not proportional to the needs of the case. (Exhibit A generally,

see   Instructions, ¶1).


d. Specific Objections to Each Document Reiuest


          1.      To the extent not produced in response to the FTC's CID, all agreements Weno

Exchange has entered into with PBMs, pharmacies, PTVs, EHRs, and prescribers that relate to the

provision of electronic services.


Objections:


         WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

agreements WENO has with any and all pharmacy benefit manager(s) ("PBM"), pharmacies,

pharmacy technology vendor(s) ("PTV"), electronic health records ("EHR"), and prescribers that

relate to the provision of electronic prescription services. Thus, by its terms this Request seeks
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all agreements WENO has had with anyone since 2008.1 Moreover, to the extent this request seeks

agreements with EHRs, it is vague and illogical. The Request is also vague and ambiguous insofar

as it requests all WENO agreements since 2008 in sweeping terms that include matters that are

irrelevant and unrelated to the issues before the Court in the FTC Case rendering the Request not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case, and among the irrelevant materials Surescripts   a direct competitor of WENO

  seeks are WENO agreements that are subject to mutual non-disclosure agreements between

WENO and its clients that if produced will reveal sensitive confidential proprietary business

information that could be used to gain an unfair competitive advantage. Additionally, since

Surescripts has received the materials and information supplied to the FTC by WENO in 2016,

Surescripts should undertake a meaningful analysis of those materials and information in an effort

to narrow its Subpoena rather than impose that burden on WENO.


       2.      To the extent not produced in response to the FTC's CID, all documents    including

negotiation documents and internal communications       related to WENO Exchange's agreements



   Several Requests exclude information WENO produced in response to the Civil Investigative
Demand issued to WENO by the Federal Trade Commission ("FTC") on June 27, 2016.
Nevertheless, even these Requests are arguably narrowed in scope by the exclusion the Subpoena
nevertheless seeks an incredibly broad scope of information, some irrelevant, including vast
sensitive confidential and proprietary WENO information, for over a four (4) year period in some
Requests and for a twelve (12) year period in others. Moreover, this exclusion language would
cause WENO additional unnecessary burden to compare the Subpoena to what it turned over to
the FTC pursuant to the June 2016 FTC Civil Investigative Demand, rather than that burden falling
on Surescripts, to whom this burden should rest given that it is a party to the FTC Case. In fact,
through a telephonic conference with Surescripts' counsel WENO learned that Surescripts has in
fact received the materials and information supplied to the FTC by WENO in 2016. Nevertheless,
it seems as though rather than analyze that information in a meaningful way that should result in a
narrowing of the Subpoena Surescripts attempts to impose the burden on WENO. Perhaps after
engaging in a review of information received in discovery through the FTC Case Surescripts would
be better positioned to issue a less burdensome subpoena to WENO more reasonably tailored to
obtain non-duplicative relevant information that it does not already have access to.


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or potential agreements with EHRs or prescribers regarding the provision of electronic prescription

services.


Objections:


        WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

negotiation of WENO' s agreements (and potential agreements), including WENO' s own internal

communications, with EHRs or prescribers regarding the provision of electronic prescription

services. Thus, by its terms this Request seeks all agreements WENO has had with anyone since

2008.   The Request is also vague and ambiguous insofar as it requests all negotiations and

communications regarding agreements or potential agreements since 2008 in sweeping terms that

include matters that are irrelevant and unrelated to the issues before the Court in the FTC Case

rendering the Request not reasonably calculated to lead to the discovery of admissible evidence

and not proportional to the needs of the case, and among the irrelevant materials Surescripts    a

direct competitor of WENO        seeks are WENO agreements that are subject to mutual non-

disclosure agreements between WENO and its clients that if produced will reveal sensitive

confidential proprietary business information that could be used to gain an unfair competitive

advantage. Additionally, since Surescripts has received the materials and information supplied to

the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of those materials

and information in an effort to narrow its Subpoena rather than impose that burden on WENO.


        3.      To the extent not produced in response to the FTC's CID, all documents   including

negotiation documents and internal communications       related to WENO Exchange's agreements




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or potential agreements with pharmacies/PTVs regarding the provision of electronic prescription

services.

Objections:


        WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses   all   manner of materials regarding the

negotiation of WENO's agreements (and potential agreements), including WENO's own internal

communications, with pharmacies/PTVs regarding the provision of electronic prescription

services. Thus, by its terms this Request seeks all agreements WENO has had with anyone since

2008.   The Request is also vague and ambiguous insofar as it requests all negotiations and

communications regarding agreements or potential agreements since 2008 in sweeping terms that

include matters that are irrelevant and unrelated to the issues before the Court in the FTC Case

rendering the Request not reasonably calculated to lead to the discovery of admissible evidence

and not proportional to the needs of the case, and among the irrelevant materials Surescripts    a

direct competitor of WENO        seeks are WENO agreements that are subject to mutual non-

disclosure agreements between WENO and its clients that if produced will reveal sensitive

confidential proprietary business information that could be used to gain an unfair competitive

advantage. Additionally, since Surescripts has received the materials and information supplied to

the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of those materials

and information in an effort to narrow its Subpoena rather than impose that burden on WENO.


        4.      To the extent not produced in response to the FTC's CID, all documents   including

negotiation documents and internal communications      related to WENO Exchange's agreements

or potential agreements with PBMs regarding the provision of electronic prescription services.

Objections:
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        WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

negotiation of WENO's agreements (and potential agreements), including WENO's own internal

communications, with PBMs regarding the provision of electronic prescription services. Thus, by

its terms this Request seeks all agreements WENO has had with anyone since 2008. The Request

is also vague and ambiguous insofar as it requests all negotiations and communications regarding

agreements or potential agreements since 2008 in sweeping terms that include matters that are

irrelevant and unrelated to the issues before the Court in the FTC Case rendering the Request not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case, and among the irrelevant materials Surescripts   a direct competitor of WENO

  seeks are WENO agreements that are subject to mutual non-disclosure agreements between

WENO and its clients that if produced will reveal sensitive confidential proprietary business

information that could be used to gain an unfair competitive advantage. Additionally, since

Surescripts has received the materials and information supplied to the FTC by WENO in 2016,

Surescripts should undertake a meaningful analysis of those materials and information in an effort

to narrow its Subpoena rather than impose that burden on WENO.


       5.       To the extent not produced in response to the FTC's CID, all documents that

describe Your efforts to lobby state and federal governmental entities regarding electronic

prescription services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the


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needs of the case. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden




       6.       To the extent not produced in response to the FTC's CID, documents sufficient to

show the instances when You included, or attempted to include, an exclusivity or loyalty provision

related to either routing or eligibility in Your agreements with an EHR, PBM, PTV, or pharmacy.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden

on WENO.


       7.       To the extent not produced in response to the FTC's CID, documents sufficient to

show, on a monthly and annual basis, the volume of transactions, payments, and prices (be it on a

per-transaction basis or otherwise) for Your electronic prescription services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost


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information related to WENO's business. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden




       8.        To the extent not produced in response to the FTC's CID, data sufficient to show

the number of electronic prescription transactions transmitted across WENO Exchange's network

separately by:

                 a.      Product and product subcategories (e.g., new prescriptions separate from

                 refill requests);

                 b.      Pair of sender and recipient entities (e.g., new prescriptions between a

                 specific HER and a specific PTV); and

                 c.      Month and year.

                 For each sender/recipient, identify the entity type (i.e., HER, PBM, etc.) and any

                 identifying information associated with the entity, including address, affiliation,

                 and any identifiers associated with the entity (e.g., a prescriber's National

                 Prescriber Identifier). If data are not available at this level, provide the information

                 at the most granular level available.




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Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding

electronic prescription transactions transmitted across WENO Exchange's network since 2008 in

sweeping terms that include matters that are irrelevant and unrelated to the issues before the Court

in the FTC Case rendering the Request not reasonably calculated to lead to the discovery of

admissible evidence and not proportional to the needs of the case, and among the irrelevant

materials Surescripts    a direct competitor of WENO         seeks are WENO agreements that are

subject to mutual non-disclosure agreements between WENO and its clients that if produced will

reveal sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. The manner and format          to a "granular level"   in which the materials

are requested is also improper in that it imposes additional unreasonable burden on WENO.

Additionally, since Surescripts has received the materials and information supplied to the FTC by

WENO in 2016, Surescripts should undertake a meaningful analysis of those materials and

information in an effort to narrow its Subpoena rather than impose that burden on WENO.


       9.       To the extent not produced in response to the FTC's CID, documents sufficient to

show WENO Exchange's monthly average unit operating cost and profit margin (be it on a per-

transaction basis or otherwise) for electronic prescription services separately by product and

product subcategories. Include the total cost/margin and any components, including but not

limited to direct/indirect and fixed/variable costs. If data are not available at this level, provide

the information at the most granular level available.




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Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost

information related to WENO's business. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. The manner and format          to a "granular level"   in which the materials

are requested is also improper in that it imposes additional unreasonable burden on WENO.

Additionally, since Surescripts has received the materials and information supplied to the FTC by

WENO in 2016, Surescripts should undertake a meaningful analysis of those materials and

information in an effort to narrow its Subpoena rather than impose that burden on WENO.


       10.     Documents sufficient to show comparisons or analyses of routing or eligibility

relative to other electronic prescription services, including but not limited to claims adjudication

and/or clinical messaging, and including but not limited to comparisons of costs or profit margins,

ease of entry, quality, and strengths/weaknesses of competitors.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost

information related to WENO's business. The Request is also vague and ambiguous and not



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reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage.

       11.     To the extent not produced in response to the FTC's CID, all documents relating to

competition for the provision or sale of electronic prescription services, including, without

limitation, market studies, forecasts, business planning documents, and surveys relating to the

market share or competitive position of WENO Exchange or any of its competitors in the market

for electronic prescription services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost

information related to WENO's business. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden

   i!iiS]

       12.     To the extent not produced in response to the FTC's CID, all documents relating to

economies of scale, minimum visible scale, network effects, or other factors required to attain any


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available cost savings or other efficiencies necessary to compete profitably in the development,

sale, and provision of electronic prescription services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost

information related to WENO's business. The Request is also vague and ambiguous and not

reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden

onWENO.


       13.     To the extent not produced in response to the FTC's CID, all documents relating to

efforts to differentiate or improve WENO Exchange's electronic prescription services relative to

competitors, such as efforts to introduce new services or improve the quality of services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

most sensitive of internal confidential business information related to the innerworkings and cost

information related to WENO's business. The Request is also vague and ambiguous and not



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reasonably calculated to lead to the discovery of admissible evidence and not proportional to the

needs of the case. WENO if required to produce the requested information will be forced to reveal

sensitive confidential proprietary business information that could be used to gain an unfair

competitive advantage. Additionally, since Surescripts has received the materials and information

supplied to the FTC by WENO in 2016, Surescripts should undertake a meaningful analysis of

those materials and information in an effort to narrow its Subpoena rather than impose that burden

on WENO.


       14.     All documents     including negotiation documents and internal communications

related to potential agreements, or attempts to form an agreement with another electronic

prescription company related to the provision of electronic prescription services.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome. This

Request is not reasonably limited in time and encompasses all manner of materials regarding the

negotiation of WENO's agreements (and potential agreements), including WENO's own internal

communications regarding the provision of electronic prescription services. Thus, by its terms this

Request seeks all agreements WENO has had with anyone since 2008. The Request is also vague

and ambiguous insofar as it requests all negotiations and communications regarding agreements

or potential agreements since 2008 in sweeping terms that include matters that are irrelevant and

unrelated to the issues before the Court in the FTC Case rendering the Request not reasonably

calculated to lead to the discovery of admissible evidence and not proportional to the needs of the

case, and among the irrelevant materials Surescripts    a direct competitor of WENO      seeks are

WENO agreements that are subject to mutual non-disclosure agreements between WENO and its

clients that if produced will reveal sensitive confidential proprietary business information that


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could be used to gain an unfair competitive advantage. Additionally, since Surescripts has

received the materials and information supplied to the FTC by WENO in 2016, Surescripts should

undertake a meaningful analysis of those materials and information in an effort to narrow its

Subpoena rather than impose that burden on WENO.


        15.    All documents related to WENO Exchange and its electronic prescription services'

compliance with industry standards, including but not limited to state and federal regulatory

standards for electronic prescribing.

Objections:


       WENO objects to this Request because it is overbroad and unduly burdensome.

                                        IV. CONCLUSION

         WHEREFORE, for the reasons stated above, WENO Exchange, LLC respectfully

requests that this Court grant its Motion, and quash or modify the Subpoena, enter an appropriate

protective order, award WENO costs and attorneys' fees incurred, and for any other relief this

Honorable Court deems just and proper.




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DATED: August 18, 2020

Respectfully submitted,




By:           /5/



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August       18,2020, I submitted the foregoing document to the
Clerk of Court. I have also served a copy upon counsel for Surescripts LLC via U.S. Mail, postage
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